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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

CLAY COCKERELL and                                             §
COCKERELL DERMATOPATHOLOGY,                                    §
P.A.,                                                          §
                                                               §
         Plaintiffs,                                           §
                                                               §
V.                                                             §        Cause No. 3:17-cv-1840
                                                               §
CBS NEWS INC; JIM AXELROD; and                                 §
EMILY RAND,                                                    §
                                                               §
     Defendants.                                               §

                               DEFENDANTS’ NOTICE OF REMOVAL

TO:      The United States District Court for the Northern District of Texas, Dallas Division.

         COME NOW Defendants, CBS News Inc. (“CBS”), 1 Jim Axelrod (“Axelrod”), and

Emily Rand (“Rand”) (collectively “Defendants”), by and through their undersigned attorneys,

and file this Notice of Removal under 28 U.S.C. §1446(a) of the above-styled action to the

United States District Court for the Northern District of Texas, Dallas Division (the “Notice”),

and would respectfully show the Court as follows:

                                                         I.

         1.       On June 7, 2017, Plaintiffs Clay Cockerell and Cockerell Dermatopathology, P.A.

(collectively “Plaintiffs”) filed suit against Defendants in the 193rd Judicial District Court,

Dallas County, Texas, Cause No. DC-17-06799 by filing Plaintiffs’ Original Petition

(“Petition”). 2 Plaintiffs served the Petition on CBS on June 15, 2017. 3 The Petition claims that


1
  As stated in Defendants’ Verified Pleas, Defendant CBS News Inc. is not the correct legal name of the entity that
broadcast and published the Reports at issue. The correct name of that entity is CBS Broadcasting Inc., which owns
and operates the CBS News Division of which “The CBS Evening News” is a part.
2
  See Docket Sheet, a true and correct copy of which has been attached hereto as Exhibit A-1; see also the Petition, a
true and correct copy of which has been attached as Exhibit A-2.


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CBS, Axelrod, and Rand broadcast and posted online reports on June 8, 2016 and June 9, 2016

(the “Reports”) and that those Reports constituted defamation and business disparagement of the

Plaintiffs. As more fully explained in Defendants’ Answer, Special Exceptions, Verified Pleas,

and Affirmative Defenses to Plaintiffs Original Petition, the Reports concerned an insurance

scam targeted at families with military insurance. 4

        2.       Defendants have timely filed this Notice of Removal within the period required

by 28 U.S.C. §1446(b). See Exhibits A-3 and A-4; 5 see also Bd. Of Regents of Univ. of Tex. Sys.

v. Nippon Tel. & Tel. Corp., 478 F.3d 274, 278 (5th Cir. 2007).

                                                      II.

        3.       Plaintiffs are residents and citizens of Texas. See Exhibit A-2, ¶¶3, 4. Plaintiff

Clay Cockerell is a resident and citizen of Texas and Plaintiff Cockerell Dermatopathology, P.A.

is a Texas professional association located in Dallas County, Texas of which Clay Cockerell is

the only member. Both Plaintiffs, therefore, are Texas citizens. Id.

        4.       Defendant CBS Broadcasting, Inc., misidentified as CBS News, Inc. in the

Petition, affirmatively states that it is a New York corporation with its principal place of business

located in New York. CBS News, Inc., incorrectly named as a defendant in the Petition, is a

Delaware Corporation with its principal place of business in New York. Defendant Jim Axelrod

affirmatively states that he is a resident and citizen of the state of New Jersey. Defendant Emily

Rand affirmatively states that she is a resident and citizen of the state of New York. Thus,




3
  A true and correct copy of the Citation served on CBS News, Inc. is attached as Exhibit A-3.
4
   A true and correct copy of Defendants’ Answer, Special Exceptions, Verified Pleas, and Affirmative Defenses to
Plaintiffs Original Petition has been attached as Exhibit A-5. Exhibit A-2, Exhibit A-3, Exhibit A-4, and Exhibit A-
5 constitute the entirety of the documents currently filed in the state court action.
5
  Jim Axelrod and Emily Rand had not been served with the lawsuit at the time that they filed their Answer, Special
Exceptions, Verified Pleas, and Affirmative Defenses, but have appeared, see Exhibit A-5, and are parties to this
Notice of Removal.


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complete diversity exists between the parties. This diversity between the parties existed both at

the time of filing of the suit in the state court action below and it exists at the time of removal.

        5.       The amount in controversy exceeds $75,000.00, excluding interest and costs. See

28 U.S.C §1332(a). Specifically, Plaintiffs have pled that they intend to seek monetary relief in

excess of $1,000,000.00 for actual damages, exemplary damages, reasonable and necessary

attorneys’ fees, and any other relief to which Plaintiffs are entitled. See Exhibit A-2, ¶2, p. 11.

        6.       Removal, therefore, is proper because the district court may exercise original

jurisdiction over this action pursuant to 28 U.S.C. §1332(a). See 28 U.S.C. §1441; see also

Menendez v. Wal-Mart Stores, Inc., 364 Fed.Appx. 62, 65 (5th Cir. 2010). Venue is also proper

in this district under 28 U.S.C. §1441(a) because the state court where the suit has been pending

is located in this district.

                                                III.

        7.       As demonstrated by this Notice of Removal, each Defendant, through their

undersigned counsel, hereby expressly agrees with and consents to the removal. This unanimous

consent by each and every Defendant is given with the intent to satisfy the statutory requirements

of 28 U.S.C §1446(b)(2), and in satisfaction of any additional consent requirements imposed by

the Court.

        8.       Copies of all process, pleadings, and other filings in the state court suit are

attached hereto as required by 28 U.S.C. §1446(a). Defendants have also attached the following

documents:

        a. Index of all documents filed in the state court action with the corresponding

             date of filing listed, a true and correct copy of which is attached as Exhibit A;




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         b. Printout of Case Docket, a true and correct copy of which is attached as

              Exhibit A-1;

         c. Civil Cover Sheet, a true and correct copy of which is attached hereto; and,

         d. Supplemental Civil Cover Sheet for Cases Removed from State Court

              attached hereto.

         9.      By filing this Notice of Removal, written notice of the filing is being given by

Defendants to the Plaintiffs and their counsel as is required by law. A copy of this Notice is also

being filed with the Clerk of the court in which this cause was originally filed, a true and correct

copy of which has been attached as Exhibit B.

         WHEREFORE, Defendants pray that the above-styled action, now pending against them

in the 193rd District Court of Dallas County, Texas, be removed therefrom to this Honorable

Court.

                                              Respectfully submitted,

                                              HAYNES AND BOONE, LLP


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                                   RAND




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                                CERTIFICATE OF SERVICE


   The above signed certifies that a true and correct copy of the foregoing was served on
Counsel as shown below on the 13th day of July, 2017 to:

VIA CERTIFIED MAIL #9414 7266 9904 2041 8917 41
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